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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 -------------------------------------------------------x      Index No. 19-cv-2659 (KAM)(RER)
 ISMAEL JOEL SUREN, LUCIA SANTIAGO,
 EDGAR JOEL SUREN AND NELSON                                   AMENDED COMPLAINT
 SANTIAGO,

                                     Plaintiffs                JURY DEMAND

          -against-

 CITY OF NEW YORK, DETECTIVE ALLAN
 WARD, [Shield # 520], DETECTIVE ALEJANDRO
 VILLALONA [Shield # 101], SERGEANT PETER
 WONG [Shield #: 1824], CAPTAIN BENJAMIN LEE
 [Tax # 932887], DETECTIVE DANIEL MIZVESKY
 [Shield # 1465], DETECTIVE SAMUEL PEREZ
 [Shield # 232], P.O. NICHOLAS KOWATCH [Shield #
 9969], SERGEANT BRIAN GRIBBIN [Shield # 27248]
 DETECTIVE PAUL ORTIZ [Shield # 607], P.O. KRISTA
 OWENS [Shield # 16661], DETECTIVE JOHN
 SLAVINSKY [Shield # 29093], and JOHN DOE
 AND JANE DOE

                                     Defendants.
 ----------------------------------------------------------x

          Plaintiffs, by their attorney, LAW OFFICE OF PHILIP AKAKWAM, P.C., complaining

 of the defendants, City of New York, Detective Allan Ward [Shield # 520], Detective Alejandro

 Villalona [Shield # 101], Sergeant Peter Wong [Shield #: 1824], Captain Benjamin Lee [Tax #

 932887], Detective Daniel Mizvesky [Shield # 1465], Detective Samuel Perez [Shield # 232],

 P.O. Nicholas Kowatch [Shield # 9969], Sergeant Brian Gribbin [Shield # 27248], Detective

 Paul Ortiz [Shield # 607], P.O. Krista Owens [Shield # 16661], Detective John Slavinsky [Shield

 # 29093], and John Doe and Jane Doe, upon information and belief alleges as follows:

                                              INTRODUCTION

          1. This is an action at law to redress the deprivation under color of statute, ordinance,
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 regulation, custom, or usage of rights, privileges, and immunities secured to the plaintiffs by the

 Fourth, Fifth and Fourteenth Amendments to the Constitution of the United States, and by Title

 42 U.S.C. § 1983 [and § 1985], and arising under the laws and statutes of the State of New York.

        2. The Plaintiffs seek monetary damages for: the false arrest, false imprisonment,

 malicious prosecution, and unlawful search and seizure of Plaintiffs, and for the destruction of

 plaintiffs’ property, and otherwise, for the violation of the Plaintiffs’ federally guaranteed

 constitutional and civil rights and their rights under the laws and constitution of the State of New

 York. Plaintiffs seek whatever other relief is appropriate and necessary in order to serve the

 interest of justice and assure that their remedy is full and complete.

                                        JURISDICTION

        3. The jurisdiction of this Court is invoked pursuant to and under 28 U.S.C. Sections

 1331 and 1343[3] and [4] in conjunction with the Civil Rights Act of 1871, 42 U.S.C. Section

 1983, and under the Fourth and Fourteenth Amendments to the United States Constitution.

        4. Jurisdiction is also invoked pursuant to and under 28 U.S.C. Section 1367, entitled

 Supplemental Pendent Party Jurisdiction.

        5. The Plaintiffs request that the Court invoke pendent jurisdiction over any and all

 claims arising under the laws and Constitution of the State of New York.

        6. The State law claims have a common nucleus of operative facts with the federally

 based claims and they arise out of the same transaction(s) and occurrence(s) giving rise to the

 Plaintiffs’ federally based claims and causes of action.

                                                PARTIES

        7. Plaintiffs are residents of the City of New York, County of Kings, State of New York.


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        8. Defendant City of New York is a municipal entity existing under the laws and

 Constitution of the State of New York and was the employer of the defendant police officers

 through its Police Department - New York City Police Department (NYPD) - and the actions of

 the police officers complained of herein were done as part of the custom, practice, usage,

 regulation and/or direction of the City of New York.

        9. Defendants Detective Allan Ward [Shield # 520], Detective Alejandro Villalona

 [Shield # 101], Sergeant Peter Wong [Shield #: 1824], Captain Benjamin Lee [Tax # 932887],

 Detective Daniel Mizvesky [Shield # 1465], Detective Samuel Perez [Shield # 232], P.O.

 Nicholas Kowatch [Shield # 9969], Sergeant Brian Gribbin [Shield # 27248], Detective Paul

 Ortiz [Shield # 607], P.O. Krista Owens [Shield # 16661], Detective John Slavinsky [Shield #

 29093] were at all times material herein police officers employed by the NYPD. They are named

 here in their official and individual capacities.

        10. Defendants John Doe and Jane Doe were at all times material herein individuals

 and/or officers employed by the NYPD. They are named here in their official and individual

 capacities.

                                        NOTICE OF CLAIM

        11. Plaintiffs, in furtherance of their state causes of action, filed timely notice of claim

 against the City, in compliance with General Municipal Law Section 50.

        12. At least thirty days have elapsed since the service of aforesaid notice of claim and

 adjustment or payment thereof has been neglected or refused.

        13. This action has been commenced within one year and ninety days after the happening

 of the event(s) upon which the claim(s) is based.


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          FACTUAL ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

         14. On or about February 19, 2018, at approximately 7:30 p.m., defendant officers, acting

 in concert, arrested the plaintiffs without cause at 32 Starr Street, Brooklyn, New York, and

 charged plaintiffs with various crimes.

         15. On the date and time aforesaid, about 14 police officers of the New York City Police

 Department, including defendant officers, without producing a warrant, broke into apartment 3R

 at 32 Starr Street, Brooklyn with guns drawn and pointed at plaintiff Lucia Santiago, her son

 Ismael Suren, Jr., and grandson plaintiff Edgar Joel Suren, who were present in the apartment

 when the officers broke into it.

         16. Neither plaintiff Ismael Joel Suren nor Nelson Santiago was present in the apartment

 when the officers broke into the apartment, and neither of them lived in the apartment.

         17. Plaintiff Edgar Joel Suren who was then 17 years old, was sitting in the living room

 playing video games when the defendant officers broke into the apartment.

         18. Upon breaking into the apartment, the defendant officers wearing SWAT gear with

 flash lights and guns pointed at plaintiff Edgar Joel Suren, arrested him, placed him in handcuffs

 and ordered him to sit on the couch in the living room.

         19. The defendant officers proceeded into the bedrooms and grabbed and pulled plaintiff

 Lucia Santiago (65 years old) off from her bed, handcuffed her and brought her into the living

 room.

         20. Then the defendant officers grabbed Ismael Suren, Jr. (father of plaintiff Ismael Joel

 Suren) from one of the bedrooms, handcuffed him and brought him into the living room to join

 Lucia and Edgar who were both already in handcuffs.


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          21. The defendant officers asked them where they kept “the guns and drugs”. They told

 them that they did not have any guns or drugs.

          22. Then they asked plaintiff Lucia Santiago about her son Nelson Santiago. She told

 them that he did not live with her. The officers told her that they wanted to speak to Nelson about

 drugs and guns.

          23. The defendant officers compelled plaintiff Lucia Santiago to call her son plaintiff

 Nelson Santiago and tell him that the police wanted to speak with him.

          24. Plaintiff Nelson Santiago does not live in the premises and was having dinner with his

 girlfriend at her home when he received his mother’s call that the police wanted to speak with

 him at his mother’s house.

          25. Upon receiving the call, plaintiff Nelson proceeded to his mother’s residence.

          26. And on getting to the building, plaintiff Nelson was arrested in front of the building

 by the defendant officers.

          27. The defendant officers interrogated plaintiff Nelson in the hallway of the building;

 they asked him if he had any drugs. He told them he did not have any drugs and does not use

 drugs.

          28. Plaintiff Nelson advised the officers that he did not live in the building but that he

 lived at 105 Thaford Street, Brooklyn, New York.

          29. The defendant officers handcuffed and searched Nelson in the hallway of the building

 but found nothing illegal on him.

          30. After searching plaintiff Nelson, the defendant officers brought him into the living

 room of his mother’s apartment and had him sit there with the others - plaintiff Edgar, plaintiff


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 Lucia Santiago and Ismael Suren, Jr., who had been arrested.

        31. Plaintiff Edgar’s father Edgardo Suren got a call from one Louis Otero advising that

 the police were at his mother’s home and that his son, mother and brothers were being held.

        32. When Edgardo Suren received the call from Louis Otero, he was with his nephew

 plaintiff Ismael Joel Suren at Edgardo’s home.

        33. Upon receiving the call about his mother and son being held by the police, Edgardo

 drove to his mother’s residence accompanied by plaintiff Ismael Joel Suren.

        34. And upon arriving at his grandma’s residence, plaintiff Ismael Joel Suren was arrested

 by the defendant officers.

        35. The defendant officers asked plaintiff Ismael Joel Suren for his photo ID and when he

 produced it to them, they arrested him.

        36. The defendant officers interrogated plaintiff Ismael Joel Suren in the hallway, asked

 him about guns and drugs and whether he had any stashes in the hallway. He told them he had

 neither guns nor drugs.

        37. The defendant officers searched him in the hallway and nothing illegal was found on

 him.

        38. They cuffed plaintiff Ismael Joel Suren and led him into the living room of the subject

 premises where they were already holding the other plaintiffs and arrestees.

        39. The defendant officers proceeded to search the entire apartment. They tore down the

 apartment, breaking furniture, kitchen cabinets, bed springs, among other things.

        40. Plaintiffs demanded to see any search warrant authorizing the search but the officers

 did not show them any warrants.


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        41. The defendant officers found some collector bullets (which were inoperable) in a sock

 inside a tool box located inside a closet that belonged to the late husband of Lucia Santiago, and

 father of plaintiff Nelson Santiago. Some of the bullets had holes in them.

        42. The defendant officers asked about the bullets and Ms. Santiago told them that those

 belonged to her late husband who was a collector and that she had not cleared out his personal

 belongings since he died.

        43. Then the defendant officers asked them about guns and plaintiffs told them they had

 no guns.

        44. At some point while the officers were searching the bedrooms, they closed the door

 leading to the living room where plaintiffs and other arrestees were kept so that they could not

 further see what the officers were doing inside the bedroom.

        45. The defendant officers opened another door leading from the bedroom to the hallway

 and plaintiffs could hear them going back and forth into the bedroom from the hallway.

         46. Thereafter, the defendant officers claimed to have found some heroin in a jacket

 inside a closet in the bedroom of Lucia Santiago.

        47. When the defendant officers came into the living room with a vial they claimed to

 contain heroin, Ismael Suren, Jr. told them that the vial was a Memory Urn containing his

 father’s ashes, not heroin.

        48. Notwithstanding the explanation by Ismael Suren, Jr., the defendant officers accused

 plaintiffs of being in possession of heroin.

        49. Detective Ward and other defendant officers falsely stated to the plaintiffs that Ismael

 Suren, Jr., was involved in a gun sale on the subject premises on February 15, 2018 at about


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 10:30 a.m. However, on this date and time, said Ismael Suren, Jr., was at work and he told the

 officers as such. Upon information and belief, said Detective Ward had provided such false

 information to the Court in an application for a search warrant.

        50. In addition to destroying many properties at the subject premises, the defendant

 officers took the urn and vials containing the ashes of Late Miguel Santiago - who was the

 husband of plaintiff Lucia Santiago and father and grandfather of the other plaintiffs. The officers

 have failed to return the ashes despite repeated demands by the plaintiffs and their family.

        51. Throughout the duration of the incident, plaintiffs continued to ask defendant officers

 to produce the warrant authorizing the search of their home and the arrest of plaintiffs. The

 defendants failed to show any warrant to the plaintiffs or to advise them of the existence of any

 warrant permitting the search of their home and invasion of their privacy.

        52. Then plaintiffs were marched downstairs, chained together and placed in a police

 vehicle. They were transported to the 83rd police precinct, were fingerprinted, photographed and

 thrown into cell.

        53. After being detained for many hours, plaintiffs Edgar Suren and Lucia Santiago were

 released at about 3 a.m. the following day and were issued with Desk Appearance Tickets

 (DAT). They were charged with possession of ammunition and controlled substance.

        54. Plaintiffs Ismael Joel Suren and Nelson Santiago were both detained at the precinct

 for many hours before being transported to the Central Bookings where they were further

 detained.

        55. Plaintiffs Nelson Santiago and Ismael Joel Suren were detained for two days before

 they were brought before a judge and thereafter released on their own recognizance.


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        56. Both plaintiffs Ismael Joel Suren and Nelson Santiago were charged with possession

 of ammunition and controlled substance.

        57. Following his arrest and criminal charges, Nelson Santiago, who works for the NYC

 Department of Education was compulsorily suspended from his job pending the determination of

 his case.

        58. And with his suspension from his job, plaintiff Nelson’s health benefits were also

 suspended. Being diabetic and insulin dependent, plaintiff Nelson was under pressure to restore

 his job and health benefits.

        59. After numerous court appearances without much progress in the prosecution of the

 charges against him, plaintiff Nelson, unable to continue without health insurance from his job,

 needed an immediate disposition of the criminal charges in order to restore his job and health

 benefits. Yielding to the need to restore his health insurance, plaintiff pleaded to a disorderly

 conduct.

        60. The charges against plaintiffs Edgar Joel Suren and Lucia Santiago were adjourned in

 contemplation of dismissal and were subsequently dismissed.

        61. Plaintiff Ismael Joel Suren made numerous court appearances until November 26,

 2018 when all the criminal charges brought against him by the defendants were dismissed.

        62. Plaintiffs have demanded the return of the ashes of Late Miguel Santiago but

 defendants have failed to return same. Also, Lucia Santiago lost her rent money in the amount of

 $1600 which she had in the apartment at the time of the search.

        63. The Plaintiffs suffered violations of their federally guaranteed constitutional and civil

 rights including rights guaranteed to them under the Fourth, and Fourteenth Amendments to the


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 United States Constitution and the Civil Rights Act of 1871, 42 U.S.C. Section 1983.

          64. The actions taken against plaintiffs by the defendant Officers herein were propelled

 by a policy and practice of the City of New York which regards neighborhoods and apartments

 occupied by racial/ethnic minorities such as plaintiffs, as drug and gun-infested and which

 condones a pattern of unlawful searches and arrests.

          65. The said policy and practice also promotes an “ends justifies the means” philosophy

 of combating crime, which causes Officers to rely on non-credible informants to obtain no-knock

 warrants to search and/or arrest individuals, particularly members of racial/ethnic minority

 groups such as plaintiffs, who are Hispanic, and to subject those individuals to malicious

 investigation, destruction of property, malicious abuse of criminal process, and to excessive

 force, assault and battery. The said policy and practice falls disproportionately on persons of

 color.

          66. The policy and practice violates the rights of the Plaintiffs under federal and State

 law including the Fourth, and Fourteenth Amendments to the United States Constitution and the

 Civil Rights Act of 1871, 42 U.S.C. Section 1983.

          67. The actions and conduct of the Officers and the policy and practice of the City of

 New York are negligent and the proximate cause of damages to the Plaintiffs.

          68. The Defendant Officers acted together and in concert sanctioning and ratifying and

 otherwise condoning the wrongful actions being taken by each of the defendant Officers in a

 collective manner and fashion.

          69. The Plaintiffs have no other adequate remedy at law but for this action.




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                         AND AS FOR A FIRST CAUSE OF ACTION:
                  42 U.S.C. § 1983 - FALSE ARREST AND IMPRISONMENT

        70. Plaintiffs reiterate paragraphs 1 through 69 and incorporate such by reference herein.

        71. By their conduct and under color of law, defendant officers deprived plaintiffs of their

 constitutional right to be free from false arrest and false imprisonment.

        72. Consequently, plaintiffs have been damaged and hereby demand compensatory and

 punitive damages in an amount to be proven at trial against each of the defendants, individually

 and severally.

                       AND AS FOR A SECOND CAUSE OF ACTION:
                       42 U.S.C. § 1983 - MALICIOUS PROSECUTION

        73. Plaintiffs reiterate paragraphs 1 through 72 and incorporate such by reference herein.

        74. The conduct of defendant officers, as described herein, amounted to malicious

 prosecution of plaintiff Ismael Joel Suren.

        75. Such conduct described herein violated said plaintiff’s rights under the Fourth, Fifth,

 Sixth and Fourteenth Amendments to the United States Constitution and the Civil Rights Act of

 1871, 42 U.S.C. Section 1983.

        76. Consequently, said plaintiff has been damaged and hereby demands compensatory

 and punitive damages in an amount to be proven at trial against each of the defendants,

 individually and severally.

                         AND AS FOR A THIRD CAUSE OF ACTION:
                  42 U.S.C. § 1983 - UNREASONABLE SEARCH & SEIZURE

        77. Plaintiffs reiterates paragraphs 1 through 76 and incorporate such by reference herein.

        78. Defendant officers subjected plaintiffs to unreasonable search and seizure.



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           79. Such conduct described herein violated plaintiffs’ rights under the Fourth, Fifth, Sixth

 and Fourteenth Amendments to the United States Constitution and the Civil Rights Act of 1871,

 42 U.S.C. Section 1983.

           80. Consequently, plaintiffs have been damaged and hereby demands compensatory and

 punitive damages in an amount to be proven at trial against each of the defendants, individually

 and severally.

     FOURTH CAUSE OF ACTION: FAILURE TO TRAIN SUPERVISE/DISCIPLINE
          AND MUNICIPAL POLICY - Against Defendant City of New York

           81. Plaintiffs reiterate paragraphs 1 through 80 and incorporate such by reference herein.

           82. Defendant City, acting through the NYPD, had actual and/or de facto policies,

 practices, customs and/or usages of failing to properly train, supervise or discipline its police

 officers concerning correct practices in conducting investigations, the use of force, interviewing

 of witnesses and informants, assessment of the credibility of witnesses and informants,

 reasonable search of individuals and/or their properties, the seizure, voucher and/or release of

 seized properties, obligation not to promote or condone perjury and/or assist in the prosecution of

 innocent persons and obligation to effect an arrest only when there is probable cause for such

 arrest.

           83. Defendant City, acting through the Office of the District Attorney of the County of

 Kings, had actual and/or de facto policies, practices, customs and/or usages of failing to properly

 train, supervise or discipline its Assistant District Attorneys and employees concerning correct

 practices in conducting investigations, interviewing of witnesses and informants, assessment of

 the credibility of witnesses and informants, the initiation and/or prosecution of criminal actions,



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 obligation not to promote or condone perjury and/or assist in the prosecution of innocent persons

 and the duty and/or obligation of candor toward the court.

         84. Defendant City, acting through the aforesaid NYPD and District Attorney, had actual

 and/or de facto policies, practices, customs and/or usages of wrongfully arresting, illegally

 stopping, frisking, searching, seizing, abusing, humiliating, degrading and/or maliciously

 prosecuting individuals who are members of racial/ethnic minority groups such as plaintiffs, who

 are Hispanic, on the pretext that they were involved in narcotics, drugs, guns and/or other illicit

 activities.

         85. The existence of the aforesaid unconstitutional policies, practices, customs and/or

 usages may be inferred from repeated occurrences of similar wrongful conduct.

         86. For example, in Jones v. City of New York, 603Fed. Appx. 13 (2d Cir. 2015), Police

 Officer David Rodriguez arrested the Plaintiff in that matter, Javier Jones, merely because he was

 allegedly informed that Mr. Jones was in the company of another individual named Frantz

 Machon who allegedly did display a weapon.

         87. Officer Rodriguez was questioned at his deposition as to whether it is NYPD’s policy

 to charge all members of a group with criminal possession of a weapon when only one group

 member is alleged to have possessed a firearm.

         88. Officer Rodriguez, as the Second Circuit observed, testified that although NYPD

 “does not have an official policy of charging all members of a group with criminal possession of

 a weapon when only one group member is alleged to have possessed a firearm, [] “That is what

 we do.’” Jones, 603 Fed. Appx. At 15.

         89. Officer Rodriguez did further elaborate that “It is like an accomplice to the person


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 with the firearm[]” and that “the normal procedure is when you have a situation like this,

 everyone gets charged with the firearm because we are going off on what the victim said ... if the

 victim said that [Machon] had a firearm, that is going to be the charge for everyone.”

        90. As the plaintiff in Jones successfully argued before the Second Circuit, Officer

 Rodriguez’s testimony shows that he “is unaware that he does not have probable cause to arrest a

 mere bystander[]” which confirms the fact that “he has not been trained on this issue by the City

 [and NYPD].”

        91. Here, as was in Jones, the City and NYPD have failed to train defendant officers and

 have failed to instill in them the fact that they lack probable cause to arrest plaintiff Ismael Joel

 Suren and Nelson Santiago who were neither present at nor resided in the subject premises at the

 time of incident, but were called by and/or at the direction of the defendant officers to come to

 the premises where they were then arrested. Said plaintiffs had no knowledge of, nor exercised

 dominion and control over, any purported contraband allegedly recovered from the premises.

 And said plaintiffs were never in possession of any weapons, ammunition or controlled

 substance.

        92. The City and NYPD have failed to train defendant officers and have failed to instill in

 them the fact that they lack probable cause to arrest an individual such as the plaintiff Edgar Joel

 Suren (who was then an infant) merely because he was present in the subject premises even

 though nothing illegal was found on him and he had no knowledge of, nor exercised dominion

 and control over, any purported contraband allegedly recovered from the premises.

        93. In addition to the above, NYPD Police Officer Michael Carsey was recently convicted

 of felonies for lying under oath and falsifying information while applying for a police warrant.


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        94. Police Officer Carsey’s supervisor, Sergeant William Eiseman, had earlier admitted to

 fabricating facts to justify searching vehicles and homes for cocaine, marijuana and guns, filing

 false information to obtain search warrants and performing illegal searches of vehicles and

 homes. That Sergeant Eiseman admitted to perjury and fabricating evidence against innocent

 persons that he falsely arrested and charged with possession of narcotics and/or illegal drugs, and

 also admitted to training numerous young police officers to commit similar crimes and/or

 offenses.

        95. In addition, in or about October 2011, Detective Stephen Anderson testified against

 Detective Jason Arbeeny, a veteran of the NYPD. That Detective Anderson testified that, among

 other things, it is a common practice within the NYPD to plant narcotics and/or illegal drugs --

 commonly known within the NYPD as “flaking” -- on innocent persons in order to meet arrest

 quotas. Detective Anderson referred to the practice of planting narcotics and/or illegal drugs on

 innocent persons as “attaching bodies” to the narcotics and/or illegal drugs. According to

 Detective Anderson, this practice “was something I was seeing a lot of, whether it was from

 supervisors or undercovers and even investigators.”

        96. Regarding the issue of arrest quotas, Detective Anderson confirmed that the NYPD

 requires officers to fill quotas, and testified that even as a detective “you still have a number [of

 arrests] to reach while you are in the narcotics division.”

        97. Recently, a jury determined that officers of the NYPD are permitted, as a policy

 and/or practice, to fill their arrest quotas by making unlawful arrests. See Bryant v. City of New

 York, Index No. 22011/07 (Sup. Ct. County of Kings Feb. 18, 2011).

        98. Prior to his testimony, Detective Anderson and his partner provided false testimony in


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 court claiming that they purchased cocaine from certain individuals who as surveillance video

 later confirmed did not have any sort of contact or communication with Detective Anderson and

 his partner during the time period that Detective Anderson and his partner claimed to have

 purchased the controlled substances and/or illegal drugs.

        99. Detective Arbeeny was subsequently convicted of planting controlled substances

 and/or illegal drugs on a woman and her boyfriend, and was convicted of the charges against him

 including official misconduct, offering a false instrument for filing and falsifying business

 records.

        100. Recently, the New York Supreme Court, County of Kings, Criminal Term, Gustin L.

 Reichbach, J., determined that the NYPD’s drug unit has a system of flawed procedures that

 caused Detective Arbeeny’s unlawful actions. Judge Reichbach further determined that the

 NYPD’s drug unit has a widespread culture of corruption and has adopted a “cowboy culture”

 and practice which he described as “[a]nything goes in the never-ending war on drugs.” That

 Judge Reichbach expressed shock at what he described as “the seeming pervasive scope of

 misconduct [and even worse] . . . the seeming casualness by which such conduct is employed.”

        101. Further, in or about 2008, the New York Supreme Court, County of Kings, Criminal

 Term, Albert Tomei, J., determined at a Mapp hearing in People v. Simms, Indictment No.

 11263/07, which was held on or about September 9, 2008, that the police officers involved in the

 arrest in that matter are “not credible” and that the police officers’ “testimony is so obviously

 fabricated . . . to avoid any Constitutional objections the defendant may have . . . and that [any]

 property taken . . . is to be suppressed because it was the product of an unlawful arrest and search

 and seizure.”


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        102. In addition to the instances of police misconduct described above, several officers of

 the NYPD -- including but not limited to Detective Christopher Perino, Police Officer Michael

 Daragjati, Police Officer Henry Tavarez, Police Officer William Masso, Detective Oscar

 Sandino, Detective Sean Johnstone, Sergeant Michael Arenella, Sergeant Jerry Bowens, Police

 Officer Michael Pena, Police Officer Nicholas Mina, Detective Kevin Spellman and Police

 Officer Admir Kacamakovic -- have recently been convicted of various similar crimes as those

 described herein including but not limited to falsifying police reports, perjury, corruption,

 robbery, gun running, drug dealing, prostitution, theft and assault.

        103. In addition to the named individual defendants, several officers of the NYPD

 assigned to the NYPD-83rd Precinct -- as the named individual defendants -- routinely make

 unlawful arrests charging innocent persons with various crimes and/or offenses.

        104. Most of the arrests and charges made by officers assigned to the NYPD-83rd

 Precinct are usually voided and/or dismissed by prosecutors for lack of evidence.

        105. Defendant City of New York maintained the above described policies, practices,

 customs or usages knowing fully well that the policies, practices, customs or usages lead to

 improper conduct by its police officers and employees. In failing to take any corrective actions,

 defendant City of New York acted with deliberate indifference, and its failure was a direct and

 proximate cause of plaintiffs’ injuries as described herein.

        106. The actions of defendants, acting under color of State law, deprived plaintiffs of

 their due process rights, and rights, remedies, privileges, and immunities under the laws and

 Constitution of the United States, treatise, ordinances, customary international law and norms,




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 custom and usage of a right; in particular, the right to be secure in his person and property, to be

 free from abuse of process, the excessive use of force and the right to due process.

           107. By these actions, defendants have deprived plaintiffs of rights secured by treatise,

 ordinances, customary international law and norms, custom and usage of a right, and the Fourth,

 Fifth, Sixth and Fourteenth Amendments to the United States Constitution, in violation of 42

 U.S.C. § 1983.

           108. As a direct and proximate result of Defendant City’s policies and deliberate

 indifference, defendants violated plaintiffs’ constitutional rights causing plaintiffs to suffer

 substantial damages.

                          AND AS FOR A FIFTH CAUSE OF ACTION:
                        PENDENT CLAIM OF ASSAULT AND BATTERY

           109. Plaintiffs reiterate paragraphs 1 through 108 and incorporate such by reference

 herein.

           110. By their conduct, as set forth above, defendant officers committed acts of battery

 against plaintiff which included grabbing and slamming him on the ground. The use of physical

 force against plaintiff was willful and unwarranted.

           111. By reason of and as a consequence of the assault detailed above, plaintiff suffered

 severe and serious physical and mental injuries.




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                    AND AS FOR AN SIXTH CAUSE OF ACTION:
           PENDENT CLAIMS OF FALSE ARREST AND FALSE IMPRISONMENT

           112. Plaintiffs reiterate paragraphs 1 through 111 and incorporate such by reference

 herein.

           113. Plaintiffs were wrongfully, unlawfully and unjustifiably arrested, detained, charged

 with crime and deprived of their liberty against their will, and were imprisoned by defendant

 officers.

           114. The false and unlawful arrest and imprisonment of plaintiffs was without any

 justification or probable cause, and was forcible and against their will.

           115. All of the foregoing occurred without any fault or provocation on the part of

 plaintiffs.

           116. At all relevant times, the defendant officers and other John Doe police officers who

 were responsible for the false arrest and imprisonment of plaintiffs were employees of the

 defendant City through the NYPD, and were acting for, upon and in furtherance of the business

 of their employer and within the scope of their employment.

           117. As a direct and proximate result of the false arrest and imprisonment of plaintiffs as

 detailed above, plaintiffs sustained the damage herein before stated.

                         AND AS FOR A NINTH CAUSE OF ACTION:
                      PENDENT CLAIM OF MALICIOUS PROSECUTION

           118. Plaintiffs reiterate paragraphs 1 through 117 and incorporate such by reference

 herein.

           119. Based on the false testimony of defendants, the prosecutors initiated criminal actions

 against the plaintiff Ismael Joel Suren.


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           120. Said Plaintiff was required to, and did, appear in court on multiple occasions to

 defend himself from the false charges levied against him with malice by defendants.

           121. Eventually, the criminal proceedings terminated in said plaintiff’s favor.

           122. Because of the conduct of defendants, said plaintiff was maliciously prosecuted for a

 lengthy period of time.

           123. Consequently, said plaintiff has been damaged and hereby demands compensatory

 and punitive damages in an amount to be proven at trial against each of the defendants,

 individually and severally.

                        AND AS FOR A TENTH CAUSE OF ACTION:
                    PROPERTY DAMAGE AND DENIAL OF DUE PROCESS

           124. Plaintiffs reiterate paragraphs 1 through 123 and incorporate such by reference

 herein.

           125. Defendants seized various personal effects and properties from plaintiffs’ home and

 have continued to deprive plaintiffs of said properties without due process. The personal effect

 and properties seized from plaintiffs’ home include vials containing the cremation ashes of their

 late relative, Miguel Santiago, various video games and the sum of $1,600 in United States

 currency.

           126. Said personal effects and properties of plaintiffs were seized by defendants on the

 date of the arrest and defendants have continued to deprive plaintiffs of same without due process

 of law in violation of the Fourth and Fifth Amendments to the United States Constitution.




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           127. Consequently, plaintiffs have been damaged and hereby demand compensatory and

 punitive damages in an amount to be proven at trial against each of the defendants, individually

 and severally.

               AS AND FOR AN ELEVENTH CAUSE OF ACTION:
       INTENTIONAL & NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

           128. Plaintiffs reiterate paragraphs 1 through 127 and incorporate such by reference

 herein.

           129. The defendants engaged in extreme and outrageous conduct, intentionally,

 negligently and recklessly causing severe emotional distress to plaintiffs.

           130. Plaintiffs’ emotional distress have damaged their personal and professional life

 because of the severe mental pain and anguish which were inflicted through deliberate and

 malicious actions including the arrest, assault and imprisonment of plaintiffs and the destruction

 of the remains (ashes) of plaintiffs’ relative by the defendants.

           131. As a direct and proximate result of the misconduct and abuse of authority detailed

 above, plaintiffs sustained the damages hereinbefore alleged.

                AS AND FOR A TWELFTH CAUSE OF ACTION:
      FABRICATION OF EVIDENCE AND DENIAL OF RIGHT TO A FAIR TRIAL

           132. Plaintiffs reiterate paragraphs 1 through 131 and incorporate such by reference

 herein.

           133. Defendant officers manufactured evidence of criminality against the plaintiffs which

 the prosecutors relied upon to initiate criminal actions against the plaintiffs.

           134. The conduct of the defendant officers, as described herein, amounted to fabrication

 of evidence and denial of right to a fair trial.


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        135. Such conduct described herein violated plaintiff’s rights under 42 U.S.C. § 1983 and

 Fourth, Fifth, Sixth and Fourteenth Amendments to the United States Constitution.

        136. Consequently, plaintiffs have been damaged and hereby demands compensatory and

 punitive damages in an amount to be proven at trial against each of the defendants, individually

 and severally.

        WHEREFORE, Plaintiffs demand judgment against the Defendants as follows:

        i.        For compensatory damages in an amount to be determined at trial - against all

                  defendants, jointly and severally;

        ii.       For punitive damages against the individual defendants in an amount to be

                  determined at trial;

        iii.      For reasonable attorneys’ fees, together with costs and disbursements of this

                  action, pursuant to 42 U.S.C. § 1988 and to the inherent powers of this Court;

        iv.       For pre-judgment interest as allowed by law; and

        v.        For such other and further relief as the court deems just and proper.

 Dated: Brooklyn, New York
        January 7, 2020

                                                LAW OFFICE OF PHILIP AKAKWAM, P.C.

                                                By:                 /s/
                                                        Philip Akakwam
                                                        Attorneys for the Plaintiffs
                                                        303 Livingston St., 2nd Floor
                                                        Brooklyn, N.Y. 11217
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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

 ISMAEL JOEL SUREN, LUCIA SANTIAGO,
 EDGAR JOEL SUREN AND NELSON
 SANTIAGO,

                             Plaintiff,

          -against-

 CITY OF NEW YORK, DETECTIVE ALLAN
 WARD, [Shield # 520], DETECTIVE ALEJANDRO
 VILLALONA [Shield # 101], SERGEANT PETER
 WONG [Shield #: 1824], CAPTAIN BENJAMIN LEE
 [Tax # 932887], DETECTIVE DANIEL MIZVESKY
 [Shield # 1465], DETECTIVE SAMUEL PEREZ
 [Shield # 232], P.O. NICHOLAS KOWATCH [Shield #
 9969], SERGEANT BRIAN GRIBBIN [Shield # 27248]
 DETECTIVE PAUL ORTIZ [Shield # 607], P.O. KRISTA
 OWENS [Shield # 16661], DETECTIVE JOHN
 SLAVINSKY [Shield # 29093], and JOHN DOE
 AND JANE DOE

                             Defendants.

                               AMENDED COMPLAINT

                        LAW OFFICE OF PHILIP AKAKWAM, P.C.
                                 Attorneys for Plaintiffs
                             Office and Post Office Address
                             303 Livingston Street, 2nd Floor
                                 Brooklyn, N.Y. 11217
                                     (718) 858-2488
 TO:

 Service of a copy of the within is hereby admitted.

 Dated:
